

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-77,816-01






KEITH WILLIAM MOORE, Relator


v.


HON. LOUIS E. STURNS, JUDGE OF THE 213TH DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. C-213-009475-1095838-A
			

FROM TARRANT COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 213th District Court of Tarrant County, that more than 35 days have elapsed,
and that the application has not yet been forwarded to this Court.  Relator contends that the district
court entered an order designating issues on December 13, 2011.

	Respondent, the Judge of the 213th District Court of Tarrant County, shall file a response
with this Court by having the District Clerk submit the record on such habeas corpus application. 
In the alternative, Respondent may resolve the issues set out in the order designating issues and then
have the District Clerk submit the record on such application.  In either case, Respondent's answer
shall be submitted within 30 days of the date of this order.  This application for leave to file a writ
of mandamus will be held in abeyance until Respondent has submitted his response.


Filed: August 22, 2012

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